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10                                  UNITED STATES DISTRICT COURT

11                                 EASTERN DISTRICT OF CALIFORNIA

12                                      SACRAMENTO DIVISION

13

14 RALPH COLEMAN, et al.,                                  Case No. 2:90-CV-00520- KJM-DB

15                   Plaintiffs,                           RESPONSE RE ORDER TO FILE
                                                           UPDATED SALARY SCHEDULE
16            v.

17 GAVIN NEWSOM, et al.                                    Judge:   Hon. Kimberly J. Mueller

18                   Defendants.

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20            On November 2, 2023, this Court ordered Defendants to submit an updated salary schedule

21 within one week. (ECF No. 8050.) As defense counsel indicated during a hearing held before this

22 Court on November 7, 2023, the State Controller’s Office has not yet updated the salary schedule

23 to reflect salary increases that will come into effect as a result of the recently-negotiated collective

24 bargaining agreements affecting mental health providers.1 Defendants currently estimate that the

25 salary schedule will be finalized by the end of December 2023. Defendants will file the updated

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     Defendants note that regardless of when the salary schedule is updated, all pay increases will be
28 retroactive to July 2023.

     20100267.1                                        1                    Case No. 2:90-CV-00520- KJM-DB
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 1 salary schedule with this Court within three business days of it becoming finalized. In the

 2 meantime, Defendants prepared an estimated salary schedule reflecting their best projections of

 3 the anticipated salary increases. Defendants note that this estimated salary schedule is subject to

 4 change based on the official calculations. A true and correct copy of Defendants’ estimated salary

 5 schedule is attached as Exhibit A.

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 7 DATED: November 9, 2023                            ROB BONTA
                                                      Attorney General of California
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 9
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16                                              By:          /s/ Samantha Wolff
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     RESPONSE RE ORDER TO FILE UPDATED SALARY SCHEDULE
